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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                     8:11CR254

        vs.
                                                                       ORDER
RONALD L. PETERSON,

                       Defendant.


     Defendant Ronald L. Peterson appeared by summons before the court on Friday, July 6, 2018
on a Petition for Warrant or Summons for Offender Under Supervision [125]. The defendant was
represented by Assistant Federal Public Defender Michael J. Hansen, and the United States was
represented by Assistant U.S. Attorney Nancy A. Svoboda. The defendant was not in custody,
and therefore not entitled to a preliminary examination. The defendant was released on current
terms and conditions of supervision.
     The undersigned magistrate judge does find that the petition alleges probable cause and that
the defendant should be held to answer for a final dispositional hearing before District Judge
Rossiter.
     IT IS ORDERED:
       1.     A final dispositional hearing will be held before District Judge Rossiter in
Courtroom No. 4, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, on August 30, 2018 at 10:00 a.m. The defendant must be present in person.
       2.     The defendant is released on current conditions of supervision.


       Dated this 6th day of July, 2018.

                                                   BY THE COURT:
                                                   s/ Michael D. Nelson
                                                   United States Magistrate Judge
